                           In the Matter Of:

           KULAKOWSKI vs WESTROCK SERVICES




                          TRACIE DUNCAN

                           November 16, 2017




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KULAKOWSKI vs WESTROCK SERVICES




 · · · · ·IN THE UNITED STATES DISTRICT COURT
 · · · · FOR THE MIDDLE DISTRICT OF TENNESSEE
 · · · · · · · · ·NASHVILLE DIVISION




 MICHAEL KULAKOWSKI,· · · · · · · · )
 · · · · · · · · · · · · · · · · · ·)
 · · ·Plaintiff,· · · · · · · · · · )
 · · · · · · · · · · · · · · · · · ·)
 vs.· · · · · · · · · · · · · · · · )CASE NO.
 · · · · · · · · · · · · · · · · · ·)3:16-CV-02510
 · · · · · · · · · · · · · · · · · ·)
 WESTROCK SERVICES, INC.,· · · · · ·)
 · · · · · · · · · · · · · · · · · ·)
 · · ·Defendant.· · · · · · · · · · )
 _________________________________




 · · · · · · · · · · DEPOSITION OF

 · · · · · · · ·TRACIE MICHELLE DUNCAN

 · · · · · Taken on Behalf of the Plaintiff

 · · · · · · · · · November 16, 2017

 · · · · · · · ·Commencing at 1:40 p.m.




 __________________________________________________



 Reported by:· Jerri L. Porter, RPR, CRR
 Tennessee LCR No. 335
 Expires:· 6/30/2018



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·1·   APPEARANCES:                                                    ·1· · · · · · · ·The deposition of TRACIE MICHELLE
·2·   For the Plaintiff:                                              ·2· DUNCAN was taken on behalf of the Plaintiff on
·3·   · · · · ·HEATHER MOORE COLLINS
· ·   · · · · ·Collins & Hunter                                       ·3· November 16, 2017, in the offices of Bone,
·4·   · · · · ·7000 Executive Center Drive                            ·4· McAllester & Norton, 131 Saundersville Road, Suite
· ·   · · · · ·Building 2, Suite 320
                                                                      ·5· 130, Hendersonville, Tennessee, for all purposes
·5·   · · · · ·Brentwood, Tennessee· 37027
· ·   · · · · ·(615) 724-1996                                         ·6· under the Federal Rules of Civil Procedure.
·6·   · · · · ·heather@collinshunter.com                              ·7· · · · · · · ·The formalities as to notice, caption,
·7
                                                                      ·8· certificate, et cetera, are waived.· All objections,
· ·   For the Defendant:
·8                                                                    ·9· except as to the form of the questions, are reserved
· ·   ·   ·   ·   ·   ·MARY DOHNER SMITH                              10· to the hearing.
·9·   ·   ·   ·   ·   ·NELSON SUAREZ
                                                                      11· · · · · · · ·It is agreed that Jerri L. Porter,
· ·   ·   ·   ·   ·   ·Constangy, Brooks, Smith & Prophete
10·   ·   ·   ·   ·   ·1010 SunTrust Plaza                            12· being a Notary Public and Court Reporter for the
· ·   ·   ·   ·   ·   ·401 Commerce Street                            13· State of Tennessee, may swear the witness, and that
11·   ·   ·   ·   ·   ·Nashville, Tennessee· 37219
                                                                      14· the reading and signing of the completed deposition
· ·   ·   ·   ·   ·   ·(615) 320-5200
12·   ·   ·   ·   ·   ·mdohner@constangy.com                          15· by the witness are reserved.
· ·   ·   ·   ·   ·   ·nsuarez@constangy.com                          16
13
14                                                                    17
15                                                                    18
16
                                                                      19
17
18                                                                    20
19                                                                    21· · · · · · · · · · · · · * * *
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22                                                                    23
23                                                                    24
24
                                                                      25
25

                                                             Page 3                                                             Page 5
·1· · · · · · · · · · · · I N D E X                                   ·1·   · · · · · · · ·TRACIE MICHELLE DUNCAN
·2· · · · · · · · · INDEX OF EXAMINATIONS
                                                                      ·2·   was called as a witness, and after having been first
·3· · · · · · · · · · · · · · · · · · · · · · · · · Page
                                                                      ·3·   duly sworn, testified as follows:
·4· Examination By Ms. Collins ........................5
·5· Examination By Mr. Suarez ........................16              ·4·   · · · · · · · · E X A M I N A T I O N
·6                                                                    ·5·   BY MS. COLLINS:
·7                                                                    ·6·   Q· · · ·Good afternoon.· Could you state your
·8· · · · · · · ·PREVIOUSLY MARKED EXHIBITS                           ·7·   complete name for the record, please.
· · · · · · · · · · PRESENTED TO WITNESS
                                                                      ·8·   A· · · ·Tracie Michelle Duncan.
·9
                                                                      ·9·   Q· · · ·Ms. Duncan, what is your address?
10· Exhibit· · · · Description· · · · · · · · · · · Page
11· No. 14· ·8/29/16 Henley e-mail to McGraw .........12
                                                                      10·   A· · · ·435 Princeton Drive, Lebanon, Tennessee
· · · · · · ·Subject: 2133-Interview                                  11·   37087.
12· · · · · ·Questions-8.26.16; 8/29/16 Henley                        12·   Q· · · ·Okay.· Where do you currently work?
· · · · · · ·e-mail to McGraw Subject: Interview                      13·   A· · · ·WestRock.
13· · · · · ·with Tracie-August 29, 2016 Bates                        14·   Q· · · ·How long have you worked out there?
· · · · · · ·WestRock 000240-0241
                                                                      15·   A· · · ·Seventeen years.
14
15
                                                                      16·   Q· · · ·Are you at the Gallatin facility?
16                                                                    17·   A· · · ·Fulfillment, yes.
17                                                                    18·   Q· · · ·At the fulfillment?
18                                                                    19·   A· · · ·Yes.
19                                                                    20·   Q· · · ·Have your 17 years been at the fulfillment
20
                                                                      21·   center?
21
                                                                      22·   A· · · ·Yes, ma'am.
22
23                                                                    23·   Q· · · ·What do you do out at the fulfillment
24                                                                    24·   center?
25                                                                    25·   A· · · ·I'm a quality auditor.


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·1·   Q· · · ·Is that a desk job or are you out in the        ·1·   employees in the groin?
·2·   plant?                                                  ·2·   A· · · ·No, ma'am.
·3·   A· · · ·Both.                                           ·3·   Q· · · ·Who was HR out at the -- or for the
·4·   Q· · · ·Who is your supervisor?                         ·4·   fulfillment center before Mr. Whited was terminated?
·5·   A· · · ·Michael White.· Sorry, I'm nervous.             ·5·   A· · · ·Helen Kendall.
·6·   Q· · · ·I was going to say, there's no need to be       ·6·   Q· · · ·What sort of things did Helen handle?
·7·   nervous.· I'm just going to ask you a few question.     ·7·   A· · · ·Insurance and stuff.
·8·   A· · · ·Yeah.                                           ·8·   Q· · · ·Would she come over to the fulfillment
·9·   Q· · · ·Have you ever had your deposition taken         ·9·   center to handle things sometimes?
10·   before?                                                 10·   A· · · ·Yes, ma'am.
11·   A· · · ·No.· I was telling him, I had jury duty a       11·   Q· · · ·Before Mr. Whited was terminated and before
12·   lot, but that's about it.                               12·   the investigation about his termination, do you
13·   Q· · · ·All right.· You worked out at the               13·   recall receiving any training on sex harassment?
14·   fulfillment center when Mr. Whited was there, right?    14·   A· · · ·I don't remember.
15·   A· · · ·Yes.                                            15·   Q· · · ·Do you recall talking with Terri Henley in
16·   Q· · · ·Tommy Whited.· And you've also worked with      16·   connection with the Whited investigation?
17·   Michael Kulakowski, right?                              17·   A· · · ·I do, yes.
18·   A· · · ·Yes.                                            18·   Q· · · ·What is your understanding as to what her
19·   Q· · · ·Have you ever seen Mr. Whited hit another       19·   job is?
20·   employee?                                               20·   A· · · ·She's over HR.
21·   A· · · ·Yes.                                            21·   Q· · · ·Okay.· Had you seen her out at the plants
22·   Q· · · ·Okay.· Tell me who you've seen him hit.         22·   before the Whited investigation?
23·   A· · · ·I've seen him like just playing around, you     23·   A· · · ·No, ma'am.
24·   know, not like fighting somebody.                       24·   Q· · · ·Did you ever hear Tommy Whited threaten an
25·   Q· · · ·Sure.· Who have you seen him hit?               25·   employee's job?
                                                     Page 7                                                        Page 9
·1·   A· · · ·Michael Kulakowski.                             ·1·   A· · · ·Not that I recall, no, ma'am.
·2·   Q· · · ·Have you seen him hit anyone else?              ·2·   Q· · · ·Did you ever hear Tommy Whited say anything
·3·   A· · · ·Yeah.                                           ·3·   to employees like if they reported anything about
·4·   Q· · · ·Who?                                            ·4·   him that he would find out about it and fire them?
·5·   A· · · ·I'm not sure.· I mean, I've been there a        ·5·   A· · · ·No, I didn't.
·6·   really long time.                                       ·6·   Q· · · ·Okay.· Did you know that WestRock had a
·7·   Q· · · ·Okay.                                           ·7·   hotline?
·8·   A· · · ·That was kind of normal, I guess.               ·8·   A· · · ·Yes.
·9·   Q· · · ·Okay.· Normal for Mr. Whited to hit other       ·9·   Q· · · ·Okay.· How did you know that?
10·   people?                                                 10·   A· · · ·It's posted.
11·   A· · · ·Well, I mean, they would do it back and         11·   Q· · · ·When did you come to find out about that?
12·   forth to one another.                                   12·   A· · · ·Pretty much when all this stuff started
13·   Q· · · ·Did you ever see Tommy Whited kick another      13·   going on, I guess.
14·   employee?                                               14·   Q· · · ·Okay.· Was that the first time it had come
15·   A· · · ·No, ma'am.                                      15·   to your attention that there was a hotline?
16·   Q· · · ·You never saw him kick Michael Kulakowski?      16·   A· · · ·Well, I mean, I noticed that's whenever it
17·   A· · · ·No, ma'am.                                      17·   was posted.
18·   Q· · · ·When you say that you saw Mr. Whited hit        18·   Q· · · ·Oh, it was posted when all of this stuff
19·   Michael Kulakowski, where on his body did he hit --     19·   came up?
20·   did you see him hit him?                                20·   A· · · ·Yes.
21·   A· · · ·Like on the arm or something.                   21·   Q· · · ·And when you say it was --
22·   Q· · · ·Did you ever see him hit Michael Kulakowski     22·   A· · · ·I mean, if it was posted somewhere else, I
23·   in the groin?                                           23·   just didn't see it.
24·   A· · · ·No, ma'am.                                      24·   Q· · · ·Okay.
25·   Q· · · ·Did you ever see Tommy Whited hit any other     25·   A· · · ·That's what I'm saying.


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·1·   Q· · · ·But you noticed it was put up when all this     ·1·   knowledge.· I think she was just like a backup for
·2·   stuff came up?                                          ·2·   it.
·3·   A· · · ·Right.· Something like that, I guess, yes.      ·3·   Q· · · ·Okay.· And Ms. Hart was at the fulfillment
·4·   Q· · · ·Now, if you had a problem at work at the        ·4·   center --
·5·   fulfillment center, who were you supposed to make a     ·5·   A· · · ·Yes, ma'am.
·6·   complaint to before all the Whited stuff came up?       ·6·   Q· · · ·-- full time?
·7·   A· · · ·Michael, Michael White.                         ·7·   A· · · ·Uh-huh.
·8·   Q· · · ·Did you feel like he would address your         ·8·   Q· · · ·Could you turn in this book here to the last
·9·   problems?                                               ·9·   exhibit.· It's number -- well, no, it's actually 14.
10·   A· · · ·Yes.                                            10·   Exhibit Number 14.
11·   Q· · · ·Did Mr. Whited ever hit or kick you in the      11·   · · · · · · ·(Presented Exhibit No. 14.)
12·   workplace?                                              12·   BY MS. COLLINS:
13·   A· · · ·Playing.· I mean, yeah, he's kind of hey,       13·   Q· · · ·If you could turn to the second page of this
14·   Ms. Duncan, how are you doing (indicating).             14·   document.· It's got 241 down at the bottom.· If you
15·   Q· · · ·You gestured to your shoulder?                  15·   could just review that to yourself and let me know
16·   A· · · ·Yes.                                            16·   when you're done reviewing it.· I just want to ask
17·   Q· · · ·Did he just tap your shoulder?                  17·   you a few questions about that statement.
18·   A· · · ·Yes.· Just like in passing or something.        18·   A· · · ·The first thing?
19·   Q· · · ·But he never hit you in your groin area?        19·   Q· · · ·This whole part right here (indicating).
20·   A· · · ·No.                                             20·   A· · · ·All of it?
21·   Q· · · ·He never hit you hard enough that you were      21·   Q· · · ·Yes.· Just let me know when you're done
22·   offended by it?                                         22·   reading through that.
23·   A· · · ·No, ma'am.                                      23·   A· · · ·Okay.· (Reviewing document.)· All right.
24·   Q· · · ·And he never kicked you in your groin area?     24·   Q· · · ·Does this look like some of the information
25·   A· · · ·No, ma'am.                                      25·   that you gave Ms. Henley on August 29th?
                                                    Page 11                                                       Page 13
·1·   Q· · · ·Now, you recall Ms. Henley coming and           ·1·   A· · · ·I mean, I guess it's possible.
·2·   talking with you about Mr. Whited's behavior?           ·2·   Q· · · ·Okay.
·3·   A· · · ·Yeah.                                           ·3·   A· · · ·I just don't remember.
·4·   Q· · · ·What do you recall about that?                  ·4·   Q· · · ·Do you recall telling her that you saw Tommy
·5·   A· · · ·Oh, I mean, basically what we're talking        ·5·   Whited hit Mr. Kulakowski in the groin?
·6·   about.                                                  ·6·   A· · · ·Honestly, I don't.
·7·   Q· · · ·Okay.· What did you -- do you recall what       ·7·   Q· · · ·Okay.· You don't recall telling her that?
·8·   you told her?                                           ·8·   A· · · ·I mean, I'm not saying that she's lying. I
·9·   A· · · ·Honestly, I have no idea.                       ·9·   just don't recall.· Like I said, I'm just -- I saw
10·   Q· · · ·Okay.· That's okay.· We'll go through some      10·   them playing around before.· I don't really remember
11·   of those notes.                                         11·   seeing him hit him in that area.
12·   A· · · ·Sorry.                                          12·   Q· · · ·Okay.· And you don't recall telling
13·   Q· · · ·It's fine.· How many times did you meet with    13·   Ms. Henley that?
14·   her?                                                    14·   A· · · ·I mean, if she says I said it, I guess I
15·   A· · · ·I want to say twice.                            15·   said it.
16·   Q· · · ·Okay.                                           16·   Q· · · ·Okay.· It looks like she also asked you the
17·   A· · · ·But it could have been just once maybe.         17·   most recent time, and she has recorded that you said
18·   Q· · · ·All right.· Was it just her or was anyone       18·   on several occasions you saw the knee hit him as
19·   else present?                                           19·   well.· Do you recall that?
20·   A· · · ·I believe it was just her.                      20·   A· · · ·It's possible.
21·   Q· · · ·And when you said you thought Helen Kendall     21·   Q· · · ·Did it seem like Mr. Kulakowski was afraid
22·   was HR, y'all didn't have an on-site person at the      22·   of Mr. Whited?
23·   fulfillment center, right?                              23·   A· · · ·No.
24·   A· · · ·Well, if Helen was like on vacation, Susan      24·   Q· · · ·How often were you around them?
25·   Hart.· I mean, that's who we would go to, to my         25·   A· · · ·Honestly, not very often.· I kind of stood


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·1·   clear of him.                                           ·1·   about management to corporate that it could
·2·   Q· · · ·Stood clear of who?                             ·2·   jeopardize your job?
·3·   A· · · ·Tommy.· I mean I avoided him, pretty much,      ·3·   A· · · ·No.
·4·   if I could.                                             ·4·   Q· · · ·Are you nervous about being here today?
·5·   Q· · · ·Why did you avoid him?                          ·5·   A· · · ·Very.
·6·   A· · · ·He was just intimidating a little bit.· No      ·6·   Q· · · ·Have you bought any cars or appliances from
·7·   other reason.                                           ·7·   Tommy Whited?
·8·   Q· · · ·I understand.                                   ·8·   A· · · ·Oh, no.
·9·   A· · · ·He makes me nervous.                            ·9·   Q· · · ·You don't owe him any money or anything?
10·   Q· · · ·I understand.· Did you ever report to Larry     10·   A· · · ·No.
11·   Eden any problems you had with Tommy or that he made    11·   Q· · · ·Sorry, I have to ask.
12·   you nervous --                                          12·   · · · · · · ·MS. COLLINS:· All right.· I think
13·   A· · · ·No.                                             13·   that's all I have with this witness.
14·   Q· · · ·-- or intimidated you?                          14·   · · · · · · · · E X A M I N A T I O N
15·   A· · · ·No.· Nothing like that.· I just avoided him.    15·   BY MR. SUAREZ:
16·   Q· · · ·Do you recall an incident where Mr. Whited      16·   Q· · · ·Tracie, do you know Helen Kendall's actual
17·   came up to Mr. Kulakowski and grabbed him in the        17·   job title?
18·   groin area?                                             18·   A· · · ·HR.
19·   A· · · ·Honestly, I don't.                              19·   Q· · · ·Do you know Susan Hart's actual job title?
20·   Q· · · ·You just don't recall it?                       20·   A· · · ·No, I do not.
21·   A· · · ·I don't recall it, no.                          21·   Q· · · ·Were you guessing when you responded to
22·   Q· · · ·Okay.· Do you recall an incident out at the     22·   Helen Kendall's job title?
23·   picnic table where Mr. Whited came up to                23·   · · · · · · ·MS. COLLINS:· Objection to form.
24·   Mr. Kulakowski and kicked him?                          24·   · · · · · · ·THE WITNESS:· No.
25·   A· · · ·No.· I've never even seen Tommy out there.      25
                                                    Page 15                                                       Page 17
·1·   Q· · · ·Have you ever filled out a survey or            ·1·   BY MR. SUAREZ:
·2·   something like that out at the fulfillment center?      ·2·   Q· · · ·Tracie, how big is the fulfillment plant?
·3·   A· · · ·Yes.                                            ·3·   A· · · ·It's not that big.
·4·   Q· · · ·How often would you do that?                    ·4·   Q· · · ·How many people work there?
·5·   A· · · ·I don't know.                                   ·5·   A· · · ·Seventy-five.
·6·   Q· · · ·Were they -- did you do those when              ·6·   Q· · · ·Do you know every single time someone comes
·7·   Mr. Whited was still --                                 ·7·   to visit?
·8·   A· · · ·Yeah.                                           ·8·   A· · · ·No.
·9·   Q· · · ·-- out there?                                   ·9·   Q· · · ·Is it possible that Terri came to visit and
10·   A· · · ·Yes.                                            10·   you weren't aware she was there?
11·   Q· · · ·Were they mandatory, these surveys?             11·   · · · · · · ·MS. COLLINS:· Objection to form.
12·   A· · · ·No.· I want to say it was every year.           12·   · · · · · · ·THE WITNESS:· Yes.
13·   Q· · · ·Okay.· Do you recall if there was a place on    13·   BY MR. SUAREZ:
14·   the survey to complain about management?                14·   Q· · · ·Tracie, do you know if you received a copy
15·   A· · · ·I believe so.                                   15·   of the employee handbook?
16·   Q· · · ·Did you ever make a complaint about Tommy       16·   A· · · ·Yes.
17·   Whited?                                                 17·   Q· · · ·And did you get a physical copy of the
18·   A· · · ·No.                                             18·   handbook?
19·   Q· · · ·Were you afraid to make complaints about        19·   A· · · ·Yes.
20·   Tommy Whited?                                           20·   Q· · · ·Did you ever look through it?
21·   A· · · ·No.                                             21·   A· · · ·Probably.
22·   Q· · · ·Did you have a reason to make a complaint       22·   Q· · · ·If you needed to look through it, would you
23·   about Tommy Whited?                                     23·   have done so?
24·   A· · · ·No.                                             24·   A· · · ·Yes.
25·   Q· · · ·Were you fearful if you reported anything       25·   Q· · · ·Were you aware of a compliance hotline that


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·1·   WestRock has?                                           ·1· · · · · · · · ·REPORTER'S CERTIFICATE

·2·   A· · · ·Yes.                                            ·2

·3·   Q· · · ·Was that posted anywhere at work?               ·3· · · · · · · ·I, Jerri L. Porter, RPR, CRR, Notary
                                                              ·4· Public and Court Reporter, do hereby certify that I
·4·   A· · · ·By the time clock.
                                                              ·5· recorded to the best of my skill and ability by
·5·   Q· · · ·Do you recall if that was posted when Tommy
                                                              ·6· machine shorthand all the proceedings in the
·6·   Whited worked at WestRock?
                                                              ·7· foregoing transcript, and that said transcript is a
·7·   A· · · ·I do not recall if it was or not.
                                                              ·8· true, accurate, and complete transcript to the best
·8·   Q· · · ·Tracie, since you worked in the fulfillment
                                                              ·9· of my ability.
·9·   plant, were you around Michael Kulakowski on
                                                              10· · · · · · · ·I further certify that I am not an
10·   occasion?
                                                              11· attorney or counsel of any of the parties, nor a
11·   A· · · ·Yes.
                                                              12· relative or employee of any attorney or counsel
12·   Q· · · ·And have you talked with him on a personal      13· connected with the action, nor financially
13·   level?                                                  14· interested in the action.
14·   A· · · ·Yes.                                            15· · · · · · · ·SIGNED this 28th day of November, 2017.
15·   Q· · · ·Are you friends with him?                       16
16·   A· · · ·I am.                                           17
17·   Q· · · ·Has he contacted you in the last month or       18
18·   so?                                                     19
19·   A· · · ·Yes.                                            20· · · · · · · ·____________________________________
20·   Q· · · ·Has he come by the fulfillment plant?           21· · · · · · · · · · Jerri L. Porter, RPR, CRR
21·   A· · · ·Yes.                                            22· My Notary commission expires:· 2/19/2018
22·   Q· · · ·And did he talk to you then?                    23· Tennessee LCR No. 335
23·   A· · · ·Uh-huh.· Yes.                                   · · Expires:· 6/30/2018
24·   Q· · · ·What did he say to you?                         24

25·   A· · · ·He just pretty much mentioned that he missed    25

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·1·   being there, of course, and he was venting, kind of.    ·1· · · · · · · · · · · ·E R R A T A
                                                              ·2
·2·   Q· · · ·What was he venting about?
                                                              ·3· · · ·I, TRACIE MICHELLE DUNCAN, having read the
·3·   A· · · ·About Mary coming and Terry talking to them.
                                                              · · foregoing deposition, Pages 1 through 19, taken
·4·   Q· · · ·Terry talking to him?· Which Terry?
                                                              ·4· November 16, 2017, do hereby certify said
·5·   A· · · ·Terry Stafford.                                 · · testimony is a true and accurate transcript,
·6·   Q· · · ·Did he talk to you about this case?             ·5· with the following changes, if any:
·7·   A· · · ·He just made a comment that he was a lying      ·6· PAGE· · LINE· · · SHOULD HAVE BEEN
·8·   motherfucker.· Sorry.                                   ·7· _____· ·_____· · ·______________________________
·9·   · · · · · · ·MS. COLLINS:· That who was lying?          ·8· _____· ·_____· · ·______________________________

10·   · · · · · · ·THE WITNESS:· Terry Stafford.              ·9· _____· ·_____· · ·______________________________
                                                              10· _____· ·_____· · ·______________________________
11·   · · · · · · ·MS. COLLINS:· Okay.
                                                              11· _____· ·_____· · ·______________________________
12·   BY MR. SUAREZ:
                                                              12· _____· ·_____· · ·______________________________
13·   Q· · · ·Is this within the last month or so?            13· _____· ·_____· · ·______________________________
14·   A· · · ·I want to say, yeah, month,                     14· _____· ·_____· · ·______________________________
15·   month-and-a-half.                                       15· _____· ·_____· · ·______________________________
16·   · · · · · · ·MR. SUAREZ:· Can I have one moment to      16· _____· ·_____· · ·______________________________
17·   talk to my colleague.                                   17
18·   · · · · · · ·(Discussion off the record.)               18· · · · · · ·______________________________
                                                              19· · · · · · · · ·TRACIE MICHELLE DUNCAN
19·   · · · · · · ·MR. SUAREZ:· That's all I have.
                                                              20
20·   · · · · · · ·FURTHER DEPONENT SAITH NOT.
                                                              21
21·   · · · · · · ·(Proceedings concluded at 2:00 p.m.)       22· ____________________________
22                                                            · · · · · Notary Public
23                                                            23· My commission expires:· _____________
24                                                            24
25                                                            25



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